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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 12–cv–00617–RPM–KMT

  MARILYN DISHER,
       Plaintiff,
  v.

  BOKF, a National Association,
       Defendant.

                  STIPULATED MOTION TO DISMISS WITH PREJUDICE

         Pursuant to FED. R. CIV. P. 41(a)(1)(A)(i), Plaintiff, by and through her attorneys, and

  Defendant, by and through its attorneys, hereby moves this court to dismiss this action, on the

  merits, WITH PREJUDICE, each party to pay its own fees and costs.

         The Clerk of Court is respectfully requested to close this case.

  Respectfully submitted this 21st day of May, 2012

  MATTHEW R. OSBORNE, P.C.                          Mills Schmitz & Zaloudek, LLP

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